 Case 1:22-cv-00080-TSK Document 19 Filed 11/17/22 Page 1 of 2 PageID #: 71




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

STEVEN ROBERT BROWN, BENJAMIN WEEKLEY,
SECOND AMENDMENT FOUNDATION, and
WEST VIRGINIA CITIZENS DEFENSE LEAGUE, INC.,

               Plaintiffs,

v.                                                            Civil Action No: 1:22-CV-80
                                                              (KLEEH)

BUREAU OF ALCOHOL, TOBACCO, FIREARMS, AND
EXPLOSIVES, MERRICK BRIAN GARLAND,
U.S. Attorney General, in official capacity, and
STEVEN MICHAEL DETTELBACH,
Director of the ATF, in official capacity,

               Defendants.

                                     JOINT STIPULATION

       Come now the Plaintiffs, by and through counsel, and the Defendants, by special

appearance for the limited purpose of filing this pleading, and stipulate that the deadlines set forth

in the First Order and Notice Regarding Discovery and Scheduling Conference [Doc. 15] shall be

extended as follows:

       1.      Initial Planning Meeting on or before January 9, 2023;

       2.      Meeting Report on or before January 23, 2023;

       3.      Initial Disclosures on or before February 13, 2023; and

       4.      Scheduling Conference: if necessary.

AGREED AND STIPULATED BY:

WILLIAM IHLENFELD
UNITED STATES ATTORNEY

/s/ Maximillian F. Nogay
Assistant United States Attorney
W. Va. Bar # 13445



                                                  1
 Case 1:22-cv-00080-TSK Document 19 Filed 11/17/22 Page 2 of 2 PageID #: 72




United States Attorney’s Office
P.O. Box 591
1125 Chapline Street, Suite 3000
Wheeling, WV 26003
(304) 234-0100 office
(304) 234-0110 facsimile
Max.Nogay@usdoj.gov
Counsel for Defendants

/s/ John H. Bryan (MFN w/ permission)
/s/ Adam Kraut (MFN w/ permission)
Counsel for Plaintiffs




                                        2
